     Case 4:17-cr-00060-LGW-CLR Document 266 Filed 02/23/18 Page 1 of 1




                      IN        THE I'NITED       STATES DISTRICT    COURT

                      FOR THE SOIITHERN DISTRICT                 OF GEORGIA

                                        SAVANNAH DIVISION                     {.t.S. DISTRICT  eof "-rr
                                                                              South8rr!Sistrflci{}l .in.
                                                                                   Ftled tn Offiea
     UNITED STATES OF AMERICA,                                )
                                                              )
                   Plaintiff,                                 )
                                                              )
                      7f
                                                              ) 4:L7CR6A
                                                              )
EDWIN GARY BURROUGHS,                                         )
                                                              )
                   De f endant                                )




                                              ORDER




      Counsel- in          the     above-captioned           case have   advised    Ehe CourL

thaL. al-I pretrial             motj-ons have been comp]ied          wit.h and/or     that   al1

mat.t.ers raised           in    the    parties,      mot.ions    have   been   resolved       by

agreemen!.   Therefore,            a hearing       in this    case is deemed unnecessary.


                                              I
      so ORDERED,cnis                  ZZfidaay     of Febru ary,    2078.




                                              UNTTED STATES MAGISTRATE .JUDGE
                                              SOUTHERN DTSTRICT OF GEORGIA
